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PAUL J. FISHMAN
United States Attorney

JOHN A. DiCICCO
Acting Assistant Attorney General

ARI D. KUNOFSKY (ADK 4289)
Trial Attorney, Tax Division
U.S. Department of Justice
Ben Franklin Station
Post Office Box 227
Washington, D.C. 20044
(202) 353-9187
Counsel for the United States

                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                     )
                                              )
                   Plaintiff,                 )    No. 3:10-cv-4084-JAP-DEA
     v.                                       )
                                              )
ROBERT L. GAVETT, Sr., et al.                 )
                                              )
                     Defendant.               )

          THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT

      The United States requests that the Court enter summary judgment under Fed. R.

Civ. P. 56. The United States seeks a judgment that: (a) the United States has valid

federal tax and judicial liens against the real property known as 26 Steinmetz,

Hillsoborough, New Jersey; (b) the federal tax and judgment liens be foreclosed; and

(c) that the property be sold with the proceeds to be distributed to the United States to

be applied against the amounts owed on the liens.



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     The United States has attached a memorandum and declaration of Ari D.

Kunofsky in support of its motion.


Dated: October 25, 2010
                                     Respectfully submitted,

                                     PAUL J. FISHMAN
                                     UNITED STATES ATTORNEY

                                     JOHN A. DICICCO
                                     ACTING ASSISTANT ATTORNEY GENERAL

                                       /s/ Ari Kunofsky
                                     ARI D. KUNOFSKY
                                     Trial Attorney, Tax Division
                                     U.S. Department of Justice
                                     Post Office Box 227
                                     Washington, DC 20044
                                     Telephone: (202) 353-9187
                                     Facsimile: (202) 514-6866
                                     Email: Ari.D.Kunofsky@usdoj.gov

                                     Counsel for the United States




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